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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No.: /5er 3iF-H

Plaintiff, INFORMATION

Title 8, U.S.C.,

Sec. 1324 (a) (2) (B) (iii) -
Bringing in Aiiens Without
Presentation; Title 18,
U.S.C., Sec. 2 - Aiding and
Abetting

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GILBERTO PEREZ, Iil,

Defendant.

The United States Attorney charges:

On or about November 18, 2015, within the Southern District of
California, defendant GILBERTO PEREZ, III, with the intent to violate
the immigration laws of the United States, knowing and in reckless
disregard of the fact that an alien, namely, B.E.L., had not received
prior official authorization to come to, enter and reside in the
United States, did bring to the United States said alien and upon
arrival did not bring and present said alien immediately to an
appropriate immigration officer at a designated port of entry; in
violation of Title 8, United States Code, Section 1324 (a) (2) (B) (111)

and Title 18, United States Code, Section 2.

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BE. DUFFY
United States Attorney

PKM:gr:12/13/2015

